AO 440 (Rev, [2/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Christopher Williams

Plaintiff

Vv,

SAMSON PELTIER, Ladividually and in his officiat capacity as a Reserve Deputy of the
Montgomery County, Tennessee Sheriff's Depanment, JOHN FUSON, Individually and
in his officiel capacity as Sheriff of Montgomery County, Tennessee,

-—— and MONTGOMERY COUNTY, TENNESSEE, chee

Defendant

Civil Action No. eS i 6 L 6 3 4.

SUMMONS IN A CIVIL ACTION

Samson Peltier
3931 Rhonda Court
Clarksville, TN 37043

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a){2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure._The answer or motion must be served on the plaintiff or plaintiff's attorney,

. John T. Maher
whose name and address are: The Kennedy Law Firm

127 S. Third St.
Clarksville, TN 37040
(931) 645-9900

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint,
You also must file your answer or motion with the court.

KEITH THROCKMORTON

CLERK OFC “
JUL 1 2016 LE Pome —

Date

 

Signature of Clerk or Deputy Clerk

Case 3:16-cv-01654 Document 1-2 Filed 07/01/16 Page 1 of 6 PagelD #: 24

 
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, ifany) Samson Peltier

was received by me on (date)

C(t I personally served the summons on the individual at (place)

 

on (date)

C1 I left the summons at the individual’s residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

 

 

 

 

on (date) , and mailed a copy to the individual’s last known address; or
(3 I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 3; Or
( LT returned the summons unexecuted because ; or
{1} Other (pecify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: _

 

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

Case 3:16-cv-01654 Document 1-2 Filed 07/01/16 Page 2 of 6 PagelD #: 25

 
AO 440 (Rey. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
Christopher Williams
Plaintiff ) o
) 9 16 1654
Vv. ) Civil Action No.
SAMSON PELTIER, Individually and in his official capacity as a Reserve Deputy of the )
M ry County, T Sheriff's Dep: . JOHN FUSON, Individually and
in his official capacity as Sheriff of Montgomery County, Tennessee, )
__.. and MONTGOMERY COUNTY, TENNESSEE, ee
Defendant )
SUMMONS IN A CIVIL ACTION
John Fuson

To: (Defendant's name and address) 420 Commerce St

Clarksville, TN 37040

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure._The answer or motion must be served on the plaintiff or plaintiffs attorney,

. John T. Maher
whose name and address are: The Kennedy Law Firm

127 S. Third St.
Clarksville, TN 37040
(931) 645-9900

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

KEITH THROCKMORTON
CLERK OF COURT

MUL E206

 

Date: ees

 

 

 

‘ ¢ 7
Sigs ature er Clerk or Deplity Clerk

Case 3:16-cv-01654 Document 1-2 Filed 07/01/16 Page 3 of 6 PagelD #: 26

 
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (ame of individual and title, ifany) John Fuson

 

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) > or

 

CI I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

Oft (date) , and mailed a copy to the individual’s last known address, or

I served the summons on (name of individual) , whe is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) > or
O [returned the summons unexecuted because 5 or
CO) Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

1 declare under penalty of perjury that this information is true.

Date:

 

Server's signature

Printed name and ttle

 

Server's address

Additional information regarding attempted service, etc:

Case 3:16-cv-01654 Document 1-2 Filed 07/01/16 Page 4 of 6 PagelD #: 27

 
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Christopher Williams

 

Plaintiff’

Civil ActionNo. & 16 1654

Vv,
SAMSON PELTIER, Individually and in his official capacity as a Reserve Deputy of the
Montgomery County, Tennessee Sheriff's Department, JOHN FUSON, Individually and
in his official capacity as Sheriff of Montgomery County, Tennessee,
and MONTGOMERY COUNTY, TENNESSEE,

Defendant

SUMMONS IN A CIVIL ACTION

Montgomery County, Tennessee
c/o Mayor Jim Durrett

4 Millennium Plaza

Clarksville, TN 37040

To: (Defendant's name and address)

A lawsuit has been filed against you,

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure._The answer or motion must be served on the plaintiff or plaintiffs attorney,

. John T. Maher
whose name and address are: The Kennedy Law Firm

127 S. Third St.
Clarksville, TN 37040
(931) 645-9900

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

EHEIRR TERROR TON
JUL - 1 2016

ron

 

 

 

Date:

 

 

 

Signature of Clerk or Deputy Clerk

Case 3:16-cv-01654 Document 1-2 Filed 07/01/16 Page 5 of 6 PagelD #: 28

 
AO 440 (Rev, 12/09) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual and title, any) Montgomery County, Tennessee, thru Mayor Jim Durrett

 

was received by me on (date)

© I personally served the summons on the individual at place)

on (date) ; or

 

C1 1 left the summons at the individual’s residence or usual place of abode with (name)

, @ person of suitable age and discretion who resides there,

 

On (date) , and mailed a copy to the individual's last known address; or

C} I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of {name of organization)

 

 

on (date) ; Or
(9 Y returned the summons unexecuted because 5 Or
} Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

Case 3:16-cv-01654 Document 1-2 Filed 07/01/16 Page 6 of 6 PagelD #: 29

 
